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                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                 CIVIL MINUTES—GENERAL

  Case No. 2:10-cv-07405-JHN–PJW                                     Date: December 5, 2011
  Title:   Advocare International, L.P. v. Jessica Hardy

  Present: The Honorable JACQUELINE H. NGUYEN

               Alicia Mamer                   Not Reported                           N/A
               Deputy Clerk             Court Reporter/Recorder                    Tape No.

            Attorneys Present for Plaintiffs:           Attorneys Present for Defendants:
                  Not Present                                   Not Present

  Proceedings: ORDER GRANTING DEFENDANT’S MOTION FOR PARTIAL
               SUMMARY JUDGMENT [76] (In Chambers)

  The matter before the Court is Defendant AdvoCare International, L.P.’s
  (“Defendant”) Motion for Partial Summary Judgment (“Motion”), filed on August
  22, 2011. (Docket no. 76.) The Court has considered all the pleadings as well as
  oral argument on November 28, 2011. For the reasons herein, the Court GRANTS
  the Motion.

                                I. FACTUAL BACKGROUND1

  Plaintiff Jessica Hardy (“Plaintiff”) had been a member of the United States
  National Swimming Team since 2005. (First Amended Complaint (“FAC”) ¶ 7.)
  On or about January 29, 2008, Plaintiff entered into an endorsement agreement
  with Defendant, whereby Defendant agreed to provide Plaintiff with nutritional
  products in return for the right to use Plaintiff’s likeness in connection with
  marketing Defendant’s products. (Id. ¶ 8.)

  Between January 2008 and June 29, 2008, while training for the U.S. Olympic
  Swim Team Trials, Plaintiff consumed Defendant’s products on a regular basis.
  (Id. ¶ 10.) Between June 29 and July 6, 2008, Plaintiff participated in the U.S.
  Olympic Swim Team Trials. (Id. ¶ 11.) On July 21, 2008, Plaintiff was informed
  that her urine sample had tested positive for a low level of clenbuterol, a banned
  1
      The facts summarized herein are not in dispute unless indicated otherwise.

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  substance, and Plaintiff was subsequently disqualified from participating in the
  2008 Olympics in Beijing. (Id. ¶ 12.)

  Plaintiff asserts that Defendant’s product – unbeknownst to her – contained
  clenbuterol, thus causing her to fail the drug test. This assertion is based upon
  expert testimony from Dr. Don Catlin and Dr. George Maylin – two doctors who
  found clenbuterol in Defendant’s product. (Docket no. 78.) Plaintiff, in her FAC,
  asserts claims for, inter alia, intentional and negligent misrepresentation.
  Defendant moves for summary judgment as to both of those causes of action.
  (Mot. 1.)

  Plaintiff’s claims for intentional and negligent misrepresentation are based, in large
  part, upon the following statements from Defendant’s website:

  1.    “AdvoCare supplements, including Arginine Extreme and Nighttime
        Recovery, are or were ‘formulated with quality ingredients and based on
        elite research from around the world to ensure that AdvoCare stand apart as
        your authority on health and wellness’” (“Statement One”);

  2.    “Safety is the first consideration for every AdvoCare product. Each product
        is backed by more than 270 years combined experience and expertise from
        the Scientific and Medical Advisory Board” (“Statement Two”);

  3.     “AdvoCare . . . maintains the highest standards of manufacturing and
        scientific integrity” (“Statement Three”); and

  4.    “Nationally and internationally recognized in their specialty areas,
        [Scientific and Medical Advisory] Board members use their expertise to
        ensure that all AdvoCare products are based on solid science and created
        with the highest quality ingredients. Each A[d]voCare product is designed
        to be world-class, cutting-edge, safe and effective.” (“Statement Four.”)

  (FAC ¶¶ 6(a)–(d); FAC ¶¶ 39(a)-(c); FAC ¶¶ 53(a)-(c).)

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                                II. LEGAL STANDARD

  A.    Summary Judgment

  Summary judgment is appropriate if “there is no genuine dispute as to any material
  fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P.
  56(a). The moving party bears the initial responsibility of informing the court of
  the basis of its motion, and identifying those portions of “the pleadings,
  depositions, answers to interrogatories, and admissions on file, together with the
  affidavits, if any,” which it believes demonstrate the absence of a genuine issue of
  material fact. Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986) (quoting Fed. R.
  Civ. P. 56(c)). The substantive law governing a claim determines whether a fact is
  material. T.W. Elec. Serv. v. Pac. Elec. Contractors Ass’n, 809 F.2d 626, 630 (9th
  Cir. 1987); see also Long v. Cnty. of Los Angeles, 442 F.3d 1178, 1185 (9th Cir.
  2006) (“Material facts are those which may affect the outcome of the case.”)
  (internal citations omitted). At the summary judgment stage, the Court does not
  make credibility determinations or weigh conflicting evidence and draws all
  reasonable inferences in the light most favorable to the nonmoving party. T.W.
  Elec. Serv., 809 F.2d at 630-31. The evidence presented must be admissible. Fed.
  R. Civ. P. 56(c)(2).

                                    III. DISCUSSION

  Defendant moves to dismiss Plaintiff’s fourth claim for intentional
  misrepresentation and fifth claim for negligent misrepresentation. (Mot. 1.)
  “The elements of intentional misrepresentation, or actual fraud, are: ‘(1)
  misrepresentation (false representation, concealment, or nondisclosure); (2)
  knowledge of falsity (scienter); (3) intent to defraud (i.e., to induce reliance); (4)
  justifiable reliance; and (5) resulting damage.’” Anderson v. Deloitte & Touche, 56
  Cal. App. 4th 1468, 1474 (1997) (quoting Molko v. Holy Spirit Assn., 46 Cal.3d
  1092, 1108 (1988) (overruled on other grounds)); see also Engalla v. Permanente
  Med. Group, Inc., 15 Cal. 4th 951, 974 (1997). “The elements of a cause of action
  for negligent misrepresentation are the same as those of a claim for fraud, with the

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  exception that the defendant need not actually know the representation is false.”
  Neilson v. Union Bank of Cal., 290 F. Supp. 2d 1101, 1141 (C.D. Cal. 2003).

  Defendant argues that (1) Plaintiff failed to adequately identify any particular
  statement of fact that she relied upon to her detriment, and (2) to the extent
  Plaintiff can show she saw a particular statement, she cannot demonstrate that
  Defendant knew, or should have known, such statement was false.

  The Court will now consider the four key statements at issue.

  A.    Statements One, Two and Four

  Defendant argues that Plaintiff fails to satisfy the knowledge and reliance elements
  of both her negligent and intentional misrepresentation claims with respect to the
  first, second, and fourth statements (FAC ¶¶ 6(a), (b), & (d); Mot. 5–6.) In support
  of its argument, Defendant points to Plaintiff’s deposition, during which she was
  asked about the four statements. (Alexander Kargher Decl. (“Kargher Decl.”) Ex.
  A.)

  Defendant questioned Plaintiff about Statement One, asking, “Is that something
  that you ever saw on the website?” Plaintiff responded, “I don’t know.” (Kargher
  Decl. Ex. A; Jessica Hardy Dep. 549:1-23.) Defendant also questioned Plaintiff
  about Statement Two, asking, “And that’s not–nothing you ever saw on the
  website, is it?” Plaintiff responded, “I don’t remember.” (Id. at 549:24-550:16.)
  Finally, Defendant questioned Plaintiff about Statement Four, inquiring, “And was
  that something that [your attorney] simply included in the complaint or is that
  something you saw before?” Plaintiff answered, “I don’t remember.” (Id. at
  551:21-552:19.) Defendant argues, therefore, that these three statements cannot
  serve as the basis for Plaintiff’s claims. (Mot. 8.) The Court agrees.

  To support a cause of action for intentional or negligent misrepresentation,
  Plaintiff must prove actual reliance on an alleged misrepresentation. See Mirkin v.
  Wasserman, 5 Cal.4th 1082, 1088-89 (1993). Here, Plaintiff can hardly contend
  that she actually relied on these statements when she specifically stated during her
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  deposition that she (a) did not recall the statements, and (b) that they were written
  in the FAC by her attorney based on AdvoCare’s website. (Kargher Decl. Ex. A,
  Hardy Dep. 549:24-550:16.) In fact, Plaintiff has provided no evidence to dispute
  the assertion that she did not rely on these statements. Instead, Plaintiff argues that
  she “[did] not mean [that] she did not see [the three statements] . . . .” (Opp’n 11.)
  Such argument without sufficient factual support is insufficient.

  Therefore, the Court therefore finds that Statements One, Two and Four may not
  form the basis for Plaintiff’s fourth and fifth claims for intentional and negligent
  misrepresentation.

  B.    Statement Three

  With respect to Statement Three – the alleged misrepresentation that Defendant
  “maintains the highest standards of manufacturing and scientific integrity” – the
  Court finds that this statement constitutes non-actionable puffery.

  While “misdescriptions of specific or absolute characteristics of a product are
  actionable[,]” a product’s “superiority claims that are vague or highly subjective
  often amount to nonactionable puffery . . . .” Southland Sod Farms v. Stover Seed
  Co., 108 F.3d 1134, 1145 (9th Cir. 1997) (internal citation omitted). The Court
  finds that Statement Three is a “generalized, vague and unspecific assertion[,]”
  which constitutes “mere ‘puffery’ upon which a reasonable consumer could not
  rely.” Glen Holly, 352 F.3d at 379. Therefore, Statement Three may not form the
  basis of Plaintiff’s fourth and fifth claims for intentional and negligent
  misrepresentation.

  C.    Other Alleged Misrepresentations

  Plaintiff’s FAC also alleges intentional and negligent misrepresentation based upon
  Defendant’s alleged “failure to disclose that AdvoCare Arginine Extreme and
  Nighttime Relief contained clenbuterol.” (FAC ¶¶ 39(a), 53(a).) First, Plaintiff
  has failed to provide any evidence that Defendant actually knew that its product
  contained clenbuterol. As a result, a claim for intentional misrepresentation based
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  on a failure to disclose must fail. Second, within the Ninth Circuit, claims for
  fraud and negligent misrepresentation must meet the heightened pleading standards
  of Federal Rule of Civil Procedure 9(b). See, e.g. Neilson v. Union Bank of
  California, N.A., 290 F.Supp. 2d 1101, 1141 (C.D. Cal. 2003); Glen Holly Entm’t,
  Inc. v. Tektronix, Inc., 100 F.Supp. 2d 1086, 1093 (C.D. Cal. 1999). Rule 9(b)
  requires that a Plaintiff allege the “‘who, what, when, where, and how’ of the
  misconduct charged.’” Kearns, 567 F.3d at 1124 (quoting Vess, 317 F.3d at 1106).
  Plaintiff’s overbroad and vague negligent misrepresentation allegation fails to
  satisfy this particularity requirement. Defendants cannot be expected to “prepare
  an adequate answer to the allegations,” given the statement’s lack of specificity.
  Moore v. Kayport Package Exp., Inc., 885 F.2d 531, 540 (9th Cir. 1989). As such,
  the Court finds that this amorphous statement may not serve as the basis for
  Plaintiff’s negligent misrepresentation claim.

  All that remains then is Plaintiff’s argument – brought for the first time in her
  Opposition – that her misrepresentation claims should survive because [Defendant]
  was conveying information to her from many different sources in addition to the
  website, including written marketing materials, statements by distributors, and
  those who recruited and signed her up for an endorsement deal. (Opp’n 6-9.)
  Defendant argues that pursuant to Rule 9(b), Plaintiff is limited to the averments of
  fraud alleged in Plaintiff’s FAC. (Reply 5–7.) The Court agrees that Plaintiff is
  limited to the averments in her FAC. Therefore, statements first alleged in
  Plaintiff’s Opposition may not form the basis of Plaintiff’s claims.

                                   IV. CONCLUSION

  For the foregoing reasons, Plaintiff’s Motion for Partial Summary Judgment is
  GRANTED. (Docket no. 76.)

  IT IS SO ORDERED.


                                                                                     ___: N/A
                                                              Initials of Preparer   AM


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